                        IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                    Raleigh Division

JOHN MOORE,                                    :
                                               :
          Plaintiff,                           :
                                               :
v.                                             :       Civil Action No. 5:17-cv-24
                                               :
CORELOGIC SAFERENT, LLC,                       :
                                               :
          Defendant.                           :

                       JOINT NOTICE OF SELECTION OF MEDIATOR

          Pursuant to Local ADR Rule 101.1c(a), the parties hereby notify the Court that they

select the Honorable Barry R. Poretz (Ret.) with The McCammon Group as the mediator in this

matter.

May 22, 2017                                   Respectfully submitted,
                                               JOHN MOORE


                                               /s/ Matthew J. Erausquin
                                               Matthew J. Erausquin
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                                               Counsel for the Plaintiff




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2017, I will electronically file the foregoing Notice of

Selection of Mediator with the Clerk of the Court using the CM/ECF system, which will then

send a notification of such filing (NEF) to the following:

D. Kyle Deak
Troutman Sanders, LLP
434 Fayetteville Street, Suite 1900
Raleigh, North Carolina 27601
Tel: 919-835-4133
Fax: 919-829-8725
Email: kyle.deak@troutmansanders.com


        I hereby certify that on May 23, 2017, I will send a copy of this notice to the following
via electronic mail:

Honorable Barry R. Poretz (Ret.)
The McCammon Group
6641 West Broad Street, Suite 400
Richmond, VA 23230

Timothy J. St. George
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Counsel for the Defendant


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